        Case 1:09-cr-00371-RJA-JJM           Document 61         Filed 02/09/12        Page 1 of 5




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
_____________________________________________

UNITED STATES OF AMERICA,
                                                                   DECISION AND
                                                                   ORDER
v.
                                                                   09-CR-371-RJA-JJM-2
JOSE NUNEZ,
                        Defendant.
____________________________________________

               This case was referred to me by Hon. Richard J. Arcara for supervision of all

pretrial proceedings [6].1 Before me are defendant’s motions for a bill of particulars and

audibility hearing. Greenman Declaration [7], ¶¶12-19, 101-102.2 For the following reasons, I

order that defendant’s motions for a bill of particulars and for an audibility hearing be denied.



                                          BACKGROUND

               Defendant and co-defendant Luis Angel Lebron Acevedo are charged in a two-

count indictment with possessing heroin with intent to distribute, in violation of 21 U.S.C.

§§841(a)(1), 841(b)(1)(C), and 18 U.S.C §2, and with conspiring to possess heroin with intent to

distribute, in violation of 21 U.S.C. §846, on or about January 6, 2009 [1].




         1
               Bracketed references are to CM-ECF docket entries.
         2
               Defendant has advised the court that all other aspects of his pretrial motion ([7]) are
moot.
     Case 1:09-cr-00371-RJA-JJM            Document 61         Filed 02/09/12      Page 2 of 5




                                                ANALYSIS


A.     Defendant’s Motion for an Audibility Hearing

               Defendant requests that an audibility hearing be conducted “to determine whether

any recordings that the government seeks to introduce at his trial are audible.” Greenman

Declaration [7], ¶101. The government responds that “to the extent that the parties cannot reach

an agreement as to the recording’s contents, the government will consent to a hearing prior to

trial.” Government’s Response [8], p.17.

               Since the parties have not identified any recordings in dispute, it is unnecessary

and premature for me to conduct an audibility hearing at this time. See United States v. Colombo,

2006 WL 2012511, *14 (S.D.N.Y.2006). Therefore, this aspect of defendant’s motion is denied,

without prejudice to renewal at a later date.



B.     Defendant’s Motion for a Bill of Particulars

               Defendant seeks various particularization, including the identities of the

unindicted co-conspirators, the date, time and location where the conspiracy was formed, how

defendant is alleged to have conspired to possess heroin with intent to distribute, all uncharged

acts allegedly taken by the co-conspirators, the alleged quantities of heroin defendant conspired

to possess with intent to distribute, witnesses to any of the alleged substantive or overt acts that

occurred, when each co-conspirator is alleged to have joined the conspiracy, and defendant’s

alleged role in the conspiracy. Greenman Declaration [7], ¶18. He argues that this information is

necessary because of the indictment does not list any overt acts allegedly committed in

furtherance of the conspiracy and that from the discovery provided, “there is no information . . .

                                                 -2-
     Case 1:09-cr-00371-RJA-JJM             Document 61        Filed 02/09/12       Page 3 of 5




which provides any information or evidence linking [him] to a conspiracy to possess with intent

to distribute marijuana in any amount.” Id., ¶13.3 The government opposes defendant’s motion,

arguing that it “fails to advance any facts to show how further particularization would help

prepare their defense” and that defendant has been provided with discovery, including DEA

arrest reports that “specify the details of the facts leading up to the arrest.” Government’s

Response [8], pp.3-4.

               The circumstances warranting a bill of particulars are limited. A defendant may

obtain a bill of particulars only if the requested information is necessary “(i) to enable him to

prepare his defense; (ii) to avoid unfair surprise at trial; and (iii) to preclude a second prosecution

for the same offense.” United States. v. Persico, 621 F. Supp. 842, 868 (S.D.N.Y. 1985). “In

deciding a motion for a bill of particulars, ‘[t]he important question is whether the information

sought is necessary, not whether it is helpful.’” United States v. Conley, 2002 WL 252766, *4

(S.D.N.Y. 2002). A bill of particulars “should not function to disclose evidence, witnesses, and

legal theories to be offered by the Government at trial or as a general investigative tool for the

defense”. United States v. Henry, 861 F. Supp. 1190, 1197 (S.D.N.Y. 1994).

               “[B]efore a court will order the Government to provide a bill of particulars, the

defendant must make a ‘particularized showing of need’ for the information.” United States v.

Gonzalez, 1994 WL 689065, *2 (S.D.N.Y. 1994). The court “has the discretion to deny a bill of

particulars if the information sought by defendant is provided in the indictment or in some

acceptable alternate form.” United States v. Barnes, 158 F.3d 662, 665 (2d Cir. 1998). “Whether




       3
               I assume that defendant’s reference to marijuana was intended be heroin.

                                                  -3-
     Case 1:09-cr-00371-RJA-JJM             Document 61        Filed 02/09/12       Page 4 of 5




to grant a bill of particulars rests within the sound discretion of the district court.” United States

v. Panza, 750 F. 2d 1141, 1148 (2d Cir. 1984).

               Generally, “a bill of particulars or other adequate disclosure is appropriate where a

conspiracy count covers a complex series of events over a number of years, but provides only the

bare bones of the charge”. Barnes, 158 F.3d at 666. Although the indictment only provides the

“bare bones” of the alleged conspiracy, it is not alleged to be an expansive conspiracy, occurring

“[o]n or about January 6, 2009, in the Western District of New York, and elsewhere”.

Indictment [1]. Coupled with the limited scope of the alleged conspiracy, the government

represents that the details of its investigation have been provided to defendant in the DEA arrest

reports.

               Although the particularization sought may be helpful to defendant, “[a]s a general

rule, the defendant does not ‘need’ detailed evidence about the conspiracy in order to prepare for

trial properly. It is well settled that defendants need not know the means by which it is claimed

they performed acts in furtherance of the conspiracy nor the evidence which the Government

intends to adduce to prove their criminal acts.” United States v. Feola, 651 F.Supp. 1068, 1132

(S.D.N.Y.1987), aff’d, 875 F.2d 857 (2d Cir.), cert. denied, 493 U.S. 834 (1989). Thus, “the

government need not specify when a particular defendant joined the conspiracy, nor is it required

to specify what role each defendant played in the conspiracy. . . . Similarly, to the extent that

defendants seek a description of the particular acts for which he or she is being held responsible,

or a listing of the acts of which each defendant had knowledge, the case law is clear that the

government is not required to provide the information.” United States v. James, 2007 WL

914242, *26 (E.D.N.Y.2007); United States v. Chen, 2007 WL 2244213, *10 (S.D.N.Y.2007)


                                                  -4-
     Case 1:09-cr-00371-RJA-JJM            Document 61        Filed 02/09/12      Page 5 of 5




(“The Second Circuit . . . ha[s] routinely denied requests for Bills of Particulars concerning the

‘wheres, whens, and with whoms’ of the crime charged”). “Additionally, as the government can

prove the existence of a conspiracy through circumstantial evidence, a Bill of Particulars

comprised of very specific details is not required for a drug trafficking conspiracy charge.”

United States v. Mullen, 243 F.R.D. 54, 62 (W.D.N.Y.2006) (Foschio, M.J.). Therefore, I

conclude that defendant has not established his entitlement to a bill of particulars.



                                         CONCLUSION

               For these reasons, I order that defendant’s motions for a bill of particulars

(Greenman declaration [7], ¶¶12-19) and for an audibility hearing (id., ¶¶101-102) be denied.


Dated: February 9, 2012


                                                /s/ Jeremiah J. McCarthy
                                                JEREMIAH J. MCCARTHY
                                                United States Magistrate Judge




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